Case 3:11-cv-011@B Document 2 Filed 06/02/11 ye 1 of 25, PagelD 3

/ 0 i } TAL | IN THE UNITED STATES DISTRICT COURT
hy yh FOR THE NORTHERN DISTRICT OF TEXAS
Fhe
DALLAS DIVISION ® /
RANDY J. AUSTIN, §
Plaintiff §
§
Vv. § CIVIL ACTION NO.
§
KROGER TEXAS L.P. d/b/a KROGER §
STORE #209 §
, ‘
Defendant § S-11CV1L169-B

DEFENDANT’S NOTICE OF REMOVAL
TO THE HONORABLE UNITED STATES DISTRICT JUDGE: te | | 10

Pursuant to the terms and provisions of 28 U.S.C. §§ 1441 and 1446, Kroger Texas L.P.

d/b/a Kroger Store #209 (“Kroger”) in the cause styled “Randy Austin v. Kroger Texas L.P. d/b/a
Kroger Store #209” originally pending as Cause No. CC-11-02853-B in the County Court at Law No.
2 of Dallas County, Texas, files this Notice of Removal of the cause to the United States District
Court for the Northern District of Texas, Dallas Division.

1,

The basis of the removal of this action is diversity jurisdiction under 28 U.S.C. § 1332. In
particular, diversity jurisdiction exists in this case because there is complete diversity of citizenship
between the parties. Kroger is not a citizen of the State of Texas, and the amount in controversy
exceeds $75,000.00, exclusive of interest and costs. See 28 U.S.C. § 1332.

2.
Plaintiff, at the time of the initial filing of this action and at the current time of the removal

of this action, was and is a citizen, resident, and domicile of the State of Texas.

Case 3:11-cv-011 Bs Document 2. Filed 06/02/11 @.. 2 of 25 PagelD 4

3.

Real party in interest - Kroger Texas L.P., at the time of the initial filing of this action and at
the time of the removal of this action, was and is a limited partnership formed under the laws of
Ohio. The general partner of Kroger Texas L.P. is KRGP Inc., an Ohio corporation with its principal
place of business in Ohio. The only limited partner is KRLP Inc., an Ohio corporation with its
principle place of business in Ohio. Neither KPGP Inc. nor KRLP Inc., the only two partners of
Kroger Texas L.P., has ever been a resident of, incorporated in, or had its principal place of
business in the State of Texas.

4.

Plaintiff claims that, during the course and scope of his employment with Kroger, he was
seriously injured when he slipped and fell on water while mopping the bathroom floors of the
Kroger store. Plaintiff contends that the accident caused a severe left hip dislocation and left
femur fracture. Plaintiff alleges these injuries have required six surgeries (to date) on his left hip
and lower extremity, and that his left leg is now 2 inches shorter than his right leg. * Plaintiff filed
suit on April 25, 2011, in the County Court at Law No. 2 of Dallas County, Texas, alleging negligence
and gross negligence causes of action against Kroger.

5.

It is facially apparent from Plaintiff's Petition that the amount in controversy is over
$75,000. In addition to the past medical expenses for six surgeries, Plaintiff seeks reasonable and
necessary future medical expenses, past and future physical pain and suffering, past and future

mental anguish, permanent impairment, physical disfigurement, past and future lost wages, past

* See Plaintiff's Original Petition, attached hereto as Tab 2(b).

Case 3:11-cv-011@B Document 2 Filed 06/02/11 je 3 of 25 PagelD 5

and future loss of earning capacity, exemplary damages, pre-judgment and post-judgment interest
and cost of suit. These allegations are sufficient to establish that the amount in controversy is at
least $75,000.00.? As a result, the amount in controversy in this case exceeds $75,000.00,
exclusive of interest and costs, and this case is removable.”

6.

This removal is timely because it is filed “within thirty days after receipt, through service or
otherwise, of a copy of an amended pleading, motion, order or other paper from which it may first
be ascertained the case is one which is or has just become removable.” 28 U.S.C. § 1446(b).
Kroger first became aware this case was removable on or about May 3, 2011, when Kroger was
served with Plaintiff's Original Petition (date citation was mailed). Accordingly, this removal is
timely because it is made within thirty days after the receipt by Kroger of the document which first
demonstrated the case was removable. Moreover, more than one year has not passed since the

commencement of the action in state court on April 25, 2011. 28 U.S.C. § 1446(b).

* See Gebbia v. Wal-Mart Stores, Inc., 233 F.3d 880, 883 (5th Cir. 2000) (affirming that it was
“facially apparent” that the amount in controversy exceeded $75,000 based on alleged injuries to wrist
knee, patella, and back and alleged damages for medical expenses, physical pain and suffering, mental
anguish and suffering, loss of enjoyment of life, loss of wages and earning capacity, and permanent
disability and disfigurement); see also White v. FCI USA, Inc., 319 F.3d 672, 676 (5™ Cir. 2003) (finding
that at the time of removal, it was facially apparent by the “lengthy list of compensatory and punitive
damages” sought by the plaintiff that the amount in controversy exceeded $75,000); see also Bourne v.
Wal-Mart Stores, Inc., 582 F.Supp.2d 828 (E.D. Tex. 2008).

7

> See S. W.S. Erectors, Inc. v. Infax, Inc., 72 F.3d 489, 492 (5th Cir. 1996); see also Laughlin v.

Kmart Corp., 50 S.W.3d 871, 873 (10th Cir. 1995) (amount in controversy is ordinarily determined by
allegations in complaint).

Case 3:11-cv-011@B Document 2. Filed 06/02/11 @.- 4of25 PagelD 6

7.
Venue is proper in this district under 28 U.S.C. § 1441(a) because this district and division
embrace the county in which the removed action has been pending.
8.
Kroger filed with the Clerk of the County Court at Law No. 2 of Dallas County, Texas a
Notice of Filing Notice of Removal to Federal Court simultaneously with the filing of this Notice of
Removal.
9.
Pursuant to Local Rule 81.1, the following documents are attached:
(1) State court docket sheet (as of June 2, 2011);
(2) Index of State Court Filings:

(a) Plaintiff's Original Petition, and Request for Disclosures and Citation
(filed 4/25/11);

(b) Defendant’s Original Answer (filed 5/27/11); and
(3) Certificate of Interested Parties.
Also, a Civil Cover Sheet and Supplemental Civil Cover Sheet are being filed with this Notice.

WHEREFORE, PREMISES CONSIDERED, Defendant respectfully prays that this case be

removed to the United States District Court for the Northern District of Texas, Dallas Division.

Case 3:11-cv-011@§B Document 2 Filed 06/02/11 Me 5 of 25 PagelD7

Respectfully submitted,

fo—> wet
Donia C. Peaviey
Attorney-in-charge
State Bar No. 00783887
dpeavier@peavlergroup.com
Kimberly P. Harris
State Bar No. 24002234
kharris@peavlergroup.com
THE PEAVLER GROUP
3400 Carlisle Street, Suite 430
Dallas, Texas 75204
(214) 999-0550
(214) 999-0551 (fax)

ATTORNEYS FOR DEFENDANT
KROGER TEXAS L.P.

CERTIFICATE OF SERVICE

| hereby certify that a true and correct copy of the foregoing document has been forwarded
to the following counsels of record:

Brent S. Freefield

Rad Law Firm, P.C.

12900 Preston Road, Ste. 900
Dallas, Texas 75230

via first-class mail, in accordance with the Federal Rules of Civil Procedure on June 2, 2011.

tole Qht Qu,

Kimberly P. Harris

Case 3:11-cv-011@8 Document 2 Filed 06/02/11 @pe 6 of 25 PagelD 8

COUNTY Court AT LA

Case 3:11-cv- o11@e DOCH ier plea palais Qe 7 of 25 PagelD 9

CASE NO. CC-11-02853-B

RANDY J AUSTIN § Location: County Court at Law No. 2

vs. KROGER TEXAS LP, DOING BUSINESS AS §
KROGER STORE #209 § Filed on: 04/25/2011
§

Judicial Officer: FIFER, KING

CASE INFORMATION

Case Type: DAMAGES (NON COLLISION)
Subtype: NEGLIGENCE

DATE CASE ASSIGNMENT
Current Case Assignment
Case Number CC-11-02853-B
Court County Court at Law No. 2
Date Assigned 04/25/2011
Judicial Officer FIFER, KING
PARTY INFORMATION
Lead Attorneys
PLAINTIFF AUSTIN, RANDY J FREEFIELD, BRENT
, STEWART
Retained
972-661-1111(W)
RAD LAW FIRM
12900 PRESTON RD
SUITE 900
DALLAS, TX 75230
DEFENDANT KROGER TEXAS LP HARRIS, KIMBERLY
DOING BUSINESS AS KROGER STORE #209 Retained
SERVE THROUGH CORPORATION SERICE COMPANY 214-999-0550(W)
DBA CSC-LAWYERS INCO, REG AGENT THE PEAVLER GROUP
211 E7TH ST, STE 620 3400 CARLISLE ST.
AUSTIN, TX 00000 SUITE 430
DALLAS, TX 75204
DATE EVENTS & ORDERS OF THE COURT INDEX
04/25/2011 ORIGINAL PETITION (OCA - NEW CASE FILED)
04/25/2011 ISSUE CITATION
04/25/2011 CITATION (SERVICE)
KROGER TEXAS LP
Served: 05/03/2011
05/31/2011 ORIGINAL ANSWER
Party: DEFENDANT KROGER TEXAS LP
08/26/2011 DISMISSAL HEARING (9:00 AM) (Judicial Officer: FIFER, KING)
DATE FINANCIAL INFORMATION

PLAINTIFF AUSTIN, RANDY J

Total Charges 221.00
Total Payments and Credits 221.00
Balance Due as of 6/2/2011 0.00 -

PAGE 1 OF 2 Printed on 06/02/2011 at 10:38 AM

Case 3:11-cv-011 Gs Document 2 Filed 06/02/11 @Q- 8 of 25 PagelD 10

Case 3:11-cv-011 GBs Document 2. Filed 06/02/11 a. 9of25 PagelD 11

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

RANDY J. AUSTIN,
Plaintiff

CIVIL ACTION NO.

KROGER TEXAS L.P. d/b/a KROGER
STORE #209,
Defendant

Mmm Mm mm Mm Mm Mm

INDEX OF STATE COURT FILINGS

(a) Plaintiff's Original Petition, and Request for Disclosures and Citation (filed
4/25/11); and

(b) Defendant’s Original Answer (filed 5/27/11).

Respectfully submitted,

Donna C. Peavler
Attorney-in-charge
State Bar No. 00783887
dpeavler@peavlergroup.com
Kimberly P. Harris

State Bar No. 24002234
kharris@peavlergroup.com
THE PEAVLER GROUP

3400 Carlisle Street, Suite 430
Dallas, Texas 75204

(214) 999-0550

(214) 999-0551 (fax)

ATTORNEYS FOR DEFENDANT
KROGER TEXAS L.P.

Case 3:11-cv-0116@ Document 2. Filed 06/02/11 ‘Qe 10 of 25 PagelD 12

MAIL

CITATION

Cause #: CC-11-02853-B
The State of Texas
County Court at Law No: 2
Dallas County, Texas
SERVE: PLAINTIFF(S) ATTORNEY:
Me oe BRENT STEWART FREEFIELD

KROGER TEXAS LP, DOING BUSINESS Tal: so : af (RAD;LAW FIRM
KROGER STORE #209 MEO Me 12500;PRESTON RD
SERVE THROUGH CORPO ‘TIO ‘SE 3
COMPANY

DBA CSC- LAWYERSSIN
211 E7TH ST sre

ral Petition, a default” judgment thay ber taken against:you. ay Your. answer fay be! eae

niat-Law No. z ‘of Dallas Gout, Texas,-a 1 the George Allen Courts Building of, said Couaty’ 600%
Suite 101, DallasisTexas:75202.) ff fob e a. ea ae
tS yao : a ao Plaintiff(s), os a oN bet

Oe" RANDY BAUSTIN, “SO

ys{KROGER TEXAS LP, DOING BUSINESS AS KROGER. STORE #209, pow
I. Ait Tia i 1 6 Defendant(s) J ee sk
fe Te A
file edi in! Said: oat oh the 25th day. “of Apiil, 201 Ta’ Copy ‘of which accmpanies. this citation. wi, Teg b
dp i - NS Se ; Ce Te ade i

WITNESS: . JOHN F. WARREN; “Clerk of the County, C Cours “of D Dallas. County, ‘Texass, GIVEN: “UNDER /
SEAL OF OFFICE, ati) Dallas, Texas, and, issued this 25th day ‘of April, 2011 A.D.

Lt
mS pos
‘ .
. ne ° or ,
. —
TS -OFRICERS RETURN: _. ~ hte
fo TAD’, 2a
(Name, Address where egal: City, ‘State, and Zip) !
onthe dayof Ss" Ads .:, AD VF 20.3 - “at. ‘O°’ Clock™ =~

of this Citation, togeibaF ith a: COpy of thé Ofiginal Pétition with date cof service. marked thefeon! ye

County, Texas

Deputy

(Must be verified if served outside the State of Texas, or if served in Texas by anyone other than a Sheriff or Constable.)

Signed and sworn to by the said before me this day of
20 , to certify which witness my hand and seal of office.

Notary Public County

Gase 3: 11-cv- 011 Document 2. Filed 06/02/11 ‘Qe 11 of 25, PagelD 13 m.

‘ o Moy K S, ,
yp) Au Bu WO
Se 4p,
Bp ity Oe ke hey
cause no.CL-OFG3-1 M498 ee
44 S
diy
RANDY J. AUSTIN, § INTHE COUNTY COURT?
Plaintiff, §
§
v. §
§ AT LAW NO. a
KROGER TEXAS L.P., d/b/a KROGER §
STORE #209, §
Defendant. §
§ DALLAS COUNTY, TEXAS

PLAINTIFF’S ORIGINAL PETITION AND REQUEST FOR DISCLOSURES

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, RANDY J. AUSTIN, Plaintiff, and files his Original Petition and
Request for Disclosures, complaining of KROGER TEXAS L.P., d/b/a KROGER STORE

#209 (hereinafter “KROGER”), Defendant, and would respectfully show unto the Court as
follows:

1.
LEVEL 2 DISCOVERY CONTROL PLAN

1.1 Pursuant to Rule 190.3 of the Texas Rules of Civil Procedure, Plaintiff requests that
discovery be conducted pursuant to a Level 2 discovery control plan.

2.
. JURISDICTION AND-VENUE

2.1 Jurisdiction is proper in this Court because the amount in controversy exceeds the
minimum jurisdictional limits of this Court.

2.2 Venue is proper in Dallas County, Texas because the incident which forms the basis of
this lawsuit arose in Dallas County, Texas, pursuant to Tex.Civ.Prac.&Rem.Code Section
15.002(a)(1).

3.
PARTIES

3.1 Plaintiff is an individual who resides in Dallas County, Texas.

3.2. Defendant KROGER TEXAS L.P., d/b/a KROGER STORE #209 is a foreign
corporation doing business in Texas, and may be served with process by serving its

PLAINTIFF’S ORIGINAL PETITION AND REQUEST FOR DISCLOSURES PAGE 1 of 5

Case 3:11-cv-0116@ Document 2 Filed 06/02/11 Me 12 0f 25 PagelD 14

4.1

4.20

4.3

4.4

4.5

4.6

5.1

registered agent: Corporation Service Company d/b/a CSC-Lawyers Inco, located at 211
E. 7" Street, Suite 620, Austin, Texas.

4,
FACTS

On Monday, July 27, 2009, at approximately 10:30 a.m., Plaintiff was working in the
course and scope of his employment for Defendant KROGER. as a “Floor Clean-Up
Person” at Kroger Store #209, located at 525 N. Galloway in Mesquite (Dallas County)
Texas, 75149. Plaintiff was fifty-nine (59) years old on the date of incident.

At the time of the incident, Plaintiff was instructed by one of his supervisors at Defendant
KROGER to mop and clean up large areas of the floor inside the store (including but not
limited to the Men’s and Ladies’ Customer Restrooms) which became covered with
“dirty condenser water mixed with cleaning solvent.”

Defendant KROGER has its own: “in-house” service and maintenance technicians
(hereinafter “service crew”) who were sent to the store in question to clean and service
the large air conditioning/refrigeration condensers (approximately 4-6-in all) that were
located on the roof of the KROGER store.

"While cleaning and servicing the 4-6 condensers on the roof of the KROGER store,

Defendant’s in-house service crew used large quantities of water and a “cleaning solvent”
to perform this task, which caused the “dirty condenser water mixed with cleaning
solvent” to leak through the ceiling and/or HVAC duct system, where it accumulated on
to the Mens’ and Ladies’ Customer Restroom floors.

As Plaintiff was attempting to mop and clean the “dirty condenser water mixed with
cleaning solvent” in the Mens’ Restroom, Plaintiff slipped and violently fell on his left
side, which resulted in a severe left hip dislocation and left femur fracture. Plaintiff has
now undergone six (6) surgeries (to date) on his left hip and left lower extremity as a
result of the-incident. Plaintiff's left leg is now two (2) inches shorter than his right leg as
a result of the incident.

Defendant KROGER is a “non-subscriber’ to Workers’ Compensation insurance
coverage as that term is understood under Texas law. As such, Defendant KROGER may
not avail itself of the common-law defenses set forth in Section 406.033 of the Texas
Labor Code.

5.
NEGLIGENCE CAUSE OF ACTION: KROGER TEXAS L.P.,
d/b/a KROGER STORE #209

Plaintiff would show that, at the time of the incident, Defendant KROGER, by and
through its employees, agents, representatives and/or vice principals, failed to exercise

PLAINTIFF'S ORIGINAL PETITION AND REQUEST FOR DISCLOSURES PAGE2 of §

Case 3:11-cv-011 Document 2. Filed 06/02/11 QP. 13 of 25 PagelD 15

5.2

6.1

6.2

the reasonable and ordinary care which a prudent owner and operator of a retail grocery
store would exercise, with regard to one or more of the following particulars:

a Defendant failed to adequately staff its store with a reasonable number of “clean

up” employees at the time of the incident;

b. Defendant failed to properly train Plaintiff on how to safely perform the task that
Plaintiff was instructed to perform at the time of the incident;

c. Defendant failed to properly supervise Plaintiff to make sure that Plaintiff was
safely performing the task at the time of the incident;

d. Defendant failed to adequately warn Plaintiff of the dangers associated with the
task which Defendant instructed Plaintiff to perform at the time of the incident;

e. Defendant failed to provide Plaintiff with the proper clothing (shoes), tools and
equipment which would have enabled Plaintiff to safely perform the task that he
was instructed to perform at the time of the incident;

f. Defendant failed to coordinate the cleaning and servicing of the large 4-6
condensers on its roof during a time when the store was closed (or had minimal
customer traffic) such that Plaintiff would have adequate time and assistance from
his co-workers to get the water off the restroom floors; —

g. Defendant failed to place liquid absorption materials on the floor prior to having
’ its condensers cleaned and serviced, so as to reduce or eliminate the dangers
associated with large accumulations of water on the floor; and

h. Defendant failed to instruct its service crew to place liquid absorption materials
on the floor prior to having its condensers cleaned and serviced, so as to reduce or
eliminate the dangers associated with large accumulations of water on the floor.

Defendant KROGER owed Plaintiff a duty of reasonable and ordinary care. Said
Defendant breached its duty to Plaintiff through one or more of the negligent acts and/or
omissions set forth above, and said breach was a proximate cause of Plaintiff's injuries
and damages.

6.
PREMISES LIABILITY CAUSE OF ACTION:
DEFENDANT KROGER TEXAS L.P., d/b/a KROGER STORE #209

The large accumulation of water in Defendant’s customer restrooms posed an
unreasonable risk of harm;

Defendant knew or reasonably should have known of the danger;

PLAINTIFF’S ORIGINAL PETITION AND REQUEST FOR DISCLOSURES PAGE 3 of 5

Case 3:11-cv-0114@8 Document 2 Filed 06/02/11 Ke 14 of 25 PagelD 16

6.3

6.4

7.1

8.1.

8.2

8.3

8.4

8.5

9.1

Defendant failed to exercise ordinary care to protect Plaintiff from the danger, by both
failing to adequately warn Plaintiff of the condition and failing to make the condition
reasonably safe.

Defendant owed Plaintiff a-duty of reasonable care. Defendant breached its duty of care
to Plaintiff, and said breach was a proximate cause of Plaintiff's injuries and damages for
which he sues.

7.
GROSS NEGLIGENCE

The conduct of Defendant constituted acts and/or omissions which when viewed
objectively from the standpoint of the actor at the time of its occurrence, involved an
extreme degree of risk considering the probability and magnitude of the potential harm to
others and of which Defendant had actual subjective awareness of said risk but
nevertheless proceeded with conscious indifference to the rights, safety or welfare of
Plaintiff. Accordingly, the imposition of punitive (exemplary) damages against
Defendant is sought herein.

8.
DAMAGES

As a proximate result of Defendant’s negligence and gross negligence, Plaintiff sustained
serious and permanent bodily injuries. These injuries caused Plaintiff to sustain physical
pain and suffering, mental anguish, permanent impairment and physical disfigurement,
both in the past and continuing into the future.

Plaintiff has incurred reasonable and necessary medical expenses in the past, and will in
all reasonable probability incur medical expenses in the future.

Plaintiff has incurred lost wages in the past, and will in all reasonable probability incur
lost wages in the future.

Plaintiff seeks to recover for his past and future loss of earning capacity due to the
injuries he sustained.

Plaintiff seeks to recover from Defendant all of the damages set forth herein.

. 9,
REQUEST FOR DISCLOSURES

Pursuant to Rule 194 of the Texas Rules of Civil Procedure, Defendant is hereby
requested to disclose to Plaintiff, within fifty (50) days of service of this request, the
information and documents described in Rule 194.2 (a) through (1), to be produced to the
undersigned at Rad Law Firm, P.C., North Dallas Bank Tower, 12900 Preston Road,

- #900, Dallas, Texas 75230.

’ PLAINTIFF’S ORIGINAL PETITION AND REQUEST FOR DISCLOSURES PAGE 4 of 5

4

4 Case 3:11-cv-011@ Document 2 Filed 06/02/11 Me 15 of 25 PagelD 17

Loge Se 10.
PRAYER -
WHEREFORE, PREMISES CONSIDERED, Plaintiff respectfully requests that
Defendant be cited to appear and answer, and on final trial, that Plaintiff have judgment against
Defendant, for:

Actual damages;

Punitive (exemplary) damages;

Pre-judgment and post- judgment interest as s allowed by law;

Costs of suit; and

Any further relief, at law and in equity, to which Plaintiff may be justly
entitled.

wRYNr

Respectfully submitted,

RAD LAW FIRM, P.C.

(972) 661-1111 - Telephone
(972) 661-3537 — Facsimile

ATTORNEY FOR PLAINTIFF

PLAINTIFF’S ORIGINAL PETITION AND REQUEST FOR DISCLOSURES . PAGE 5 0f 5

Case 3:11-cv-0116@ Document 2 Filed 06/02/11 P@e 16 of 25 PagelD 18

2 toddltesald MideA tal

Gs1S3NOIY
Idl39IY NYNLIY

OZ 1, XL'wasol
0094 40 al '2 UC
ANYAWO) Fania NOLLY Sse)

ooo!

221AN35 10: [nn a end"
‘Saueastae bThe #8929 E000 Oeve b00e

Eq LOS, XL"naLmoyyey
‘I LSD LSE Sede
TIM ETE) Fu 90 W927

Case 3:11-cv-011 RS Document 2 Filed 06/02/11 Me 18 of 25 PagelD 20

Case 3:11-cv-0116@p Document 2. Filed 06/02/11 P@: 19 of 25 PagelD 21

CAUSE NO. CC-11-02853-B

P23 wo
= >
RANDY J. AUSTIN, § IN THE COUNTY COURT =~ Foe sD)
Plaintiff, § ee hos?
VS. § AT LAW NO. 2 ~  2t<m
Te “INS
KROGER TEXAS L.P. d/b/a KROGER § = me
STORE #209, § = 2
Defendant. §

DALLAS COUNTY, TEXAS

DEFENDANT’S ORIGINAL ANSWER

Defendant Kroger Texas L.P. d/b/a Kroger Store #209 hereby files its Original Answer to

Plaintif?’s Original Petition and in support thereof states as follows:

I.
SPECIAL EXCEPTIONS

Defendant objects and specially excepts to Plaintiff's Original Petition in that it fails to
specify the maximum amount of damages claimed. Pursuant to Rule 47 of the Texas Rules of
Civil Procedure, Defendant hereby requests that the Court require Plaintiff to replead,
specifying the maximum amount of damages claimed.

Il.
Defendant prays that Plaintiff be required to replead the foregoing pleadings within

seven (7) days or that the Petition should be stricken,

HI.
GENERAL DENIAL

Defendant denies each and every material allegation contained in Plaintiff's Original

Petition, demands strict proof thereof, and to the extent that such matters are questions of

DEFENDANT KROGER TEXAS L.P.’S ORIGINAL ANSWER
G:\CLIENTS\KROGER\KROGER ACTIVE\Austin (NS)\Pleadings\Answer.docx

Case 3:11-cv-0116@) Document 2. Filed 06/02/11 PQ 20 of 25 PagelD 22

fact, says Plaintiff should prove such facts by a preponderance of the evidence to a jury if he

can so do.

IV.
DEFENSES

Pleading further, Defendant states that Plaintiffs damages complained of, if any, were
the result of prior or pre-existing injuries, accidents, or conditions, and said prior or pre-existing
injuries, accidents, or conditions, were the sole and/or a contributing cause of the Plaintiff's
alleged damages.

Vv.

Defendant contends that Plaintiff's damages or injuries, if any, were caused by the acts
of third persons not under the control of Defendant. Such acts or omissions of said third
persons were the sole and/or producing and/or proximate cause of Plaintiff's damages or
injuries, if any.

Vi.

Defendant claims that Plaintiff failed to use that degree of care and caution as would
have been used by a reasonable person under the same or similar circumstances, thereby
proximately causing Plaintiff's injuries and damages, if any. Such acts or omissions of Plaintiff
were the sole proximate cause of Plaintiff's damages or injuries, if any.

Vil.
Further, Plaintiff breached his duty to mitigate damages by failing to exercise reasonable

care and diligence to avoid loss and minimize the consequences of damages.

DEFENDANT KROGER TEXAS L.P.’S ORIGINAL ANSWER 2
G.\CLIENTS\K ROGER\KROGER ACTIVE\Austin (NS)\Pleadings\Answer.docx

Case 3:11-cv-0116@ Document 2 Filed 06/02/11 @ 21 of 25 PagelD 23

Vill.

Defendant alleges that the accident complained of was an unavoidable accident as that
term is known in law.

IX,

Moreover, Defendant is not liable to Plaintiff because Plaintiff was doing the same
character of work that he had always done and that other employees in other stores were
required to do, and the work involved was not unusual.

x.

Defendant respectfully demands a court reporter be present at all proceedings before
the Court.

XI.

Defendant contends that any claims for medical or health care expenses incurred is
limited to the amount actually paid or incurred by or on behalf of Plaintiff pursuant to Texas
Civil Practice and Remedies Code §41.0105.

XIL

Defendant states that in the unlikely event that an adverse judgment would be
rendered against it in this matter, Defendant would respectfully pray for contribution,
indemnity and/or all available credits as provided for in the Texas Civil Practice and Remedies

Code and under Texas law.

DEFENDANT KROGER TEXAS L.P.’S ORIGINAL ANSWER 3
GACLIENTS\KROGER\KROGER ACTIVE\Austin (NS)\Pieadings\Answer.docx

Case 3:11-cv-0116@> Document 2 Filed 06/02/11 Pm 22 of 25 PagelD 24

Respectfully submitted,

Mut

Donna C. Peavier

State Bar No. Mer seey
Kimberly P. Harris

State Bar No. 24002234

THE PEAVLER GROUP

3400 Carlisle Street, Suite 430
Dallas, Texas 75204-1221
(214) 999-0550

(214) 999-0551 (fax)

ATTORNEYS FOR DEFENDANT

CERTIFICATE OF SERVICE

| hereby certify that a true and correct copy of the foregoing document has been
forwarded to all counsel of record pursuant to the Texas Rules of Civil Procedure on May 27,

Alia lau.

Kimberly P. Harris{_/)

DEFENDANT KROGER TEXAS L.P.’S ORIGINAL ANSWER 5
GACLIENTS\KROGER\KROGER ACTIVE\Austin (NS)\Pleadings\Answer.docx

Case 3:11-cv-0116@> Document 2_ Filed 06/02/11 P@® 23 of 25 PagelD 25
“IS 44 (Rev. 12/07) CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as provided
by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the purpose of initiating
the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.) eh

I. (a) PLAINTIFFS DRKFENDANTS
$-11CV1l169-B
(b) County of Residence of First Listed Plaintiff Dallas ounty of Residence of First Listed Defendant Qhio
(EXCEPT IN U.S. PLAINTIFHXCASE (IN U.S. PLAINTIFF CASES ONLY)
TE: INLAND CONDEMNATION CASES, USE THE LOCATION OF THE
LAND INVOLVED.
(c) Attorney’s (Firm Name, Address, and 438004 Number Attorneys (If Known) . .
Brent Freefield, Rad Law Firm, P.C., 12900 Prest ; ste. 900 Donna C. Peavier and Kimberly P. Harris, The Peavier Group, 3400
Dallas, Texas 75230, 972-661-1111 ~ Carlisle St. Ste. 430, Dallas, Texas 75204, 214-999-0550.
Hl. BASIS OF JURISDICTION (Place an “X” in One Box Only) Ill. CITIZENSHIP OF PRINCIPAL PARTIES Piace an “X” in One Box for Plaintiff
(For Diversity Cases Only) and One Box for Defendant)
1° US. Government 0 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State m1 0 1 Incorporated or Principal Place go4 04
of Business In This State
92 US. Government 944 Diversity Citizen of Another State Oo 2 Q 2 Incorporated and Principal Place oO5 Ws
Defendant (ndicate Citizenship of Parties in Item ITI) of Business In Another State
Citizen or Subject of a 03 O 3. Foreign Nation O86 O6
IV. NATURE OF SUIT (Place an “x” in One Box Onl
[CONTRACT TORTS eT FORFEITURE PENALTY BANKRUPTCY T OTHER STATUIES-—_]
110 Insurance PERSONAL INJURY PERSONAL INJURY [1 610 Agriculture ©) 422 Appeal 28 USC 158 1 400 State Reapportionment
© 120 Marine QO 310 Airplane (362 Personal Injury - © 620 Other Food & Drug 0 423 Withdrawal O 410 Antitrust
0 130 Miller Act 315 Airplane Product Med. Malpractice 0 625 Drug Related Seizure 28 USC 157 430 Banks and Banking
© 140 Negotiable Instrument Liability O 365 Personal Injury - of Property 21 USC 881 4 450 Commerce
0 150 Recovery of Overpayment | 320 Assault, Libel & Product Liability 0 630 Liquor Laws [ PROPERTY. RIGHTS J) 460 Deportation
& Enforcement of Judgment| Slander © 368 Asbestos Personal O 640R.R. & Truck O 820 Copyrights 9 470 Racketeer Influenced and
1 151 Medicare Act OQ 330 Federal Employers’ Injury Product O 650 Airline Regs. O 830 Patent Corrupt Organizations
J 152 Recovery of Defaulted Liability Liability (3 660 Occupational O 840 Trademark GO 480 Consumer Credit
Student Loans O 340 Marine PERSONAL PROPERTY Safety/Health GO 490 Cable/Sat TV
(Excl. Veterans) 0 345 Marine Product ( 370 Other Fraud 0 690 Other 810 Selective Service
O 153 Recovery of Overpayment Liability QO 371 Truth in Lending bo LABOR | SOCTAL SECURITY. 1 850 Securities/Commodities/
of Veteran’s Benefits 1 350 Motor Vehicle G 380 Other Personal O 710 Fair Labor Standards O 861 HIA (1395ff) Exchange
160 Stockholders’ Suits (1 355 Motor Vehicle Property Damage Act O 862 Black Lung (923) © 875 Customer Challenge
1 190 Other Contract Product Liability OG 385 Property Damage 0 720 Labor/Mgmt. Relations 0 863 DIWC/DIWW (405(g)) 12 USC 3410
© 195 Contract Product Liability |X 360 Other Personal Product Liability 730 Labor/Mgmt Reporting 01 864 SSID Title XVI 0 890 Other Statutory Actions
196 Franchise Inj & Disclosure Act 0 865 RSI (405 0 891 Agricultural Acts
[ REAL PROPERTY CIVIL RIGHTS [ PRISONER PETITIONS | PETITIONS | |O 740 Railway Labor Act FEDERAL TAX SUITS Jo 892 Economic Stabilization Act
@ 210 Land Condemnation O 441 Voting [J $10 Motions to Vacate O 790 Other Labor Litigation © 870 Taxes (U.S. Plaintiff GQ 893 Environmental Matters
O 220 Foreclosure G 442 Employment Sentence O 791 Empl. Ret. Inc. or Defendant) [ 894 Energy Allocation Act
C1 230 Rent Lease & Ejectment |( 443 Housing/ Habeas Corpus: Security Act O 871 IRS—Third Party 895 Freedom of Information
©) 240 Torts to Land Accommodations (530 General 26 USC 7609 Act
0 245 Tort Product Liability O 444 Welfare (535 Death Penalty IMMIGRATION C+ 900Appeal of Fee Determination
0 290 All Other Real Property [[ 445 Amer. w/Disabilities - [. 540 Mandamus & Other [0 462 Naturalization Application Under Equal Access
Employment [550 Civil Rights O) 463 Habeas Corpus - to Justice
O 446 Amer. w/Disabilities - | 555 Prison Condition Alien Detainee C1 950 Constitutionality of
Other 0 465 Other Immigration State Statutes
440 Other Civil Rights Actions
V. ORIGIN (Place an “X” in One Box Only) Appeal to District
O1 Original 83 2 Removed from (J 3. Remanded from O 4 Reinstatedor O 5 dransferred from 16 Multidistrict O 7 Mare from
Proceeding State Court Appellate Court Reopened (specify) Litigation Judement
Cite the U.S. Civil Statute under which you are filing (De not cite jurisdictional statutes unless diversity).
VI. CAUSE OF ACTION Brief description of cause:
Negligence
VII. REQUESTED IN © CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER F.R.C-P. 23 JURY DEMAND: Yes No
VIN. RELATED CASES)
tructi :
IF ANY (See imstructions):UDGE DOCKET NUMBER
i—4
DATE URE OF ATT. EV OF REPORD
J-\\ Oe) th
(2-9) Ne SAYAACRAWD
FOR OFFICE USE ONLY Ly ee
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

ren

United States District Court
Northern District of Texas

Aental Civil Cover Sheet For Cases Removed From

State Court S-11CVl169-B

~~ This form must be attached to the Civil Cover Sheet at the time the case is filed in the U.S.
District Clerk’s Office. Additional sheets may be used as necessary.

1. State Court Information:

Please identify the court from which the case is being removed and specify the number
assigned to the case in that court.

Court Case Number
County Court at Law No. 2, Dallas County CC-11-02853-B
2. Style of the Case:

Please include all Plaintiff(s), Defendant(s), Intervenor(s), Counterclaimant(s),
Crossclaimant(s) and Third Party Claimant(s) still remaining in the case and indicate their
party type. Also, please list the attorney(s) of record for each party named and include
their bar number, firm name, correct mailing address, and phone number (including area

code.)

Party and Party Type Attorney(s)

Plaintiff Brent S. Freefield

Randy J. Austin Rad Law Firm, P.C.
State Bar No. 0741735
12900 Preston Road, Ste. 900
Dallas, Texas 75230
972.661.1111

Defendant Donna C. Peavler

Kroger Texas L.P. d/b/a Attorney-in-charge

Kroger Store #209 State Bar No. 00783887

Kimberly P. Harris

State Bar No. 24002234
The Peavier Group

3400 Carlisle St., Suite 430
Dallas, Texas 75204

214.999.0550
3. Jury Demand:

Was a Jury Demand made in State Court? Yes XNo

If "Yes," by which party and on what date?

Case 3:11-cv-01168D Document 2. Filed 06/02/11 pO 25 of 25 PagelD 27

* Party Date
4. Answer:
Was an Answer made in State Court? X Yes No

If "Yes," by which party and on what date?

Kroger Texas L.P. May 27, 2011
Party Date
5. Unserved Parties:

The following parties have not been served at the time this case was removed:

Party Reason(s) for No Service

None
6. Nonsuited, Dismissed or Terminated Parties:

Please indicate any changes from the style on the State Court papers and the reason for
that change:

Party Reason
None
7. Claims of the Parties:

The filing party submits the following summary of the remaining claims of each party in this

litigation:
Party Claim(s)
Plaintiff Negligence

Defendant Contributory Negligence

